    Case 1:23-cr-20500-RKA Document 14 Entered on FLSD Docket 04/19/2024 Page 1 of 4

                                             MINUTE ORDER                                                      Page 12

                               Magistrate Judge Jonathan Goodman
                        King Building Courtroom 11-3                                 Date: 4/18/24       Time: 1:30 p.m.
Defendant: Angelo Agustin Coello Clemente       J#: 10342-511       Case #: 23-20500-CR-ALTMAN/BECERRA
AUSA: Jacob Koffsky                                      Attorney: AFPD, Srilekha Jayanthi
Violation: Computer Fraud/Access Device Fraud                     Surr/Arrest Date: 4/17/24          YOB: 1978

Proceeding: Initial Appearance/ Arraignment                              CJA Appt:
Bond/PTD Held:       Yes       No           Recommended Bond:
Bond Set at: STIP-$ 50,000 personal surety bond                          Co-signed by:
      Surrender and/or do not obtain passports/travel docs                     Language: Spanish
      Report to PTS as directed/or            x’s a week/month by              Disposition:
      phone:          x’s a week/month in person                               Brady Order given. Defendant sworn
      Random urine testing by Pretrial
      Services                                                                 and AFPD appointed. Both sides
      Treatment as deemed necessary                                            stipulate to a $50,000 personal surety
      Refrain from excessive use of alcohol                                    bond. Defendant Arraigned. Reading of
      Participate in mental health assessment & treatment                      Indictment Waived. Not Guilty plea
      Maintain or seek full-time employment/education                          entered. Jury trial demanded. Standing
      No contact with victims/witnesses, except through counsel                Discovery Order requested. All further
      No firearms                                                              proceedings before Judge Altman.
      Not to encumber property                                                 Defendant Released.

      May not visit transportation establishments
      Home Confinement/Electronic Monitoring and/or
      Curfew          pm to           am, paid by
      Allowances: Medical needs, court appearances, attorney visits,
      religious, employment
      Travel extended to:
                                                                                 Time from today to ________ excluded
      Other:                                                                     from Speedy Trial Clock
NEXT COURT APPEARANCE       Date:             Time:             Judge:                          Place:
Report RE Counsel:
PTD/Bond Hearing:
Prelim/Arraign or Removal:
Status Conference RE:
D.A.R. JG-13:32:50; 14:24:40; 14:39:02                                   Time in Court: 16 mins.
                                    s/Jonathan Goodman                                       Magistrate Judge
    Case 1:23-cr-20500-RKA Document 14 Entered on FLSD Docket 04/19/2024 Page 2 of 4

                                                              DEFENDANT: Angelo Agustin Coello
                                                              CASE NUMBER: 23-20500-CR-ALTMAN
                                                              PAGE TWO


                                     SPECIAL CONDITIONS OF BOND

In addition to compliance with the previously stated conditions of bond, the defendant must comply with the
special conditions checked below:

   a. Surrender all passports and travel documents, if any, to Pretrial Services and not obtain any travel documents
      during the pendency of the case;
   b. Report to Pretrial Services as follows: ( ) as directed or___ time(s) a week in person and___ time(s) a week by
      telephone;
   c. Submit to substance abuse testing and/or treatment, contribute to the cost of services rendered based on ability
      to pay, as determined by the U.S. Probation Officer;
   d. Refrain from ____excessive OR ___abstain from alcohol use or any use of a narcotic drug or other controlled
      substance, as defined in section 102 of the Controlled Substances Act (21 U.S.C. §802), without a prescription by
      a licensed medical practitioner;
   e. Participate in a mental health assessment and/or treatment and contribute to the costs of services rendered
      based on ability to pay, as determined by the U.S. Probation Officer;
   f. Employment restriction(s):
   g. Maintain or actively seek full-time employment;
   h. Maintain or begin an educational program;
   i. Avoid all contact with victims or witnesses to the crimes charged, except through counsel. The AUSA shall
      provide defense counsel and pretrial services with the names of all victims or witnesses. The prohibition
      against contact does not take effect until defense counsel receives the list. The prohibition against contact
      applies only to those persons on the list, but the prosecutor may expand the list by sending written notice to
      defense counsel and pretrial services.;
   j. Avoid all contact with co-defendants and defendants in related cases, except through counsel;
   k. Refrain from possessing a firearm, destructive device or other dangerous weapons and shall surrender (if any),
      their concealed weapons permit to the U.S. Probation Office;
   l. None of the signatories may sell, pledge, mortgage, hypothecate, encumber, etc., any real property they own,
      until the bond is discharged, or otherwise modified by the Court;
   m. May not visit commercial transportation establishment: airports, seaport/marinas, commercial bus terminals,
       train stations, etc.;
   n. Defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations of the
       defendant’s computer equipment at his/her place of employment or on the computer at his/her residence which
       may include retrieval and copying of all data from the computer(s) and any internal or external peripherals to
       ensure compliance with this condition and/or removal of such equipment for the purpose of conducting a more
       thorough inspection; and consent at the direction of the U.S. Probation Officer to have installed on the defendant’s
       computer(s), at the defendant’s expense, any hardware or software systems to monitor the defendant’s computer
       use;
  Case 1:23-cr-20500-RKA Document 14 Entered on FLSD Docket 04/19/2024 Page 3 of 4

                                                          DEFENDANT:         Angelo Agustin Coello
                                                          CASE NUMBER:       23-20500-CR-ALTMAN
                                                          PAGE THREE



  o. LOCATION MONITORING PROGRAM: The defendant shall be monitored by the form of location
     monitoring and shall abide by all technology requirements as noted below, as well as contribute to the costs of
     services rendered based on ( ) ability to pay as determined by the U.S. Probation Officer – or – ( ) paid by
     U.S. Probation;
         Location monitoring technology at the discretion of the officer
         Radio Frequency (RF) monitoring (Electronic Monitoring)
         Active GPS Monitoring
         Voice Recognition
         Curfew: You are restricted to your residence every day from_____ to_____, or as directed by the supervising
         officer.
                                                       OR
        Home Detention: You are restricted to your residence at all times except for:
        ( ) medical
        ( ) substance abuse or mental health treatment
        ( ) court appearances
        ( ) attorney visits or court ordered obligations
        ( ) religious services
        ( ) employment
        ( ) other activities as pre-approved by the supervising officer
   p. RESIDENTIAL RE-ENTRY CENTER: The defendant shall reside at a residential re-entry center or
      halfway house and abide by all the rules and regulations of the program. The cost to be paid by ( )Pretrial
      Services or ( ) based on the defendant’s ability to pay. You are restricted to the residential re-entry
      center/halfway house at all times except for:
      ( ) employment
      ( ) education
      ( ) religious services
      ( ) medical, substance abuse, or mental health treatment
      ( ) attorney visits
      ( ) court appearances
      ( ) court ordered obligations
      ( ) reporting to Pretrial Services
      ( ) other ___________________________________________________________________
__ q. Third-Party Custody: _________________________________will serve as a third party custodian and will
      report any violations of the release conditions to the U.S. Probation Officer. Failure to comply with these
      requirements, the third party custodian can be subject to the provisions of 18 U.S.C. § 401, Contempt of
      Court.
__ r. The defendant shall submit his person, property, residence, vehicle, papers, computers, (as defined in 18
      U.S.C. 1030(e)(1)), other electronic communication or data storage devices or media, or office, to a search
      conducted by a United States Probation Officer. The defendant must warn any other occupants that the
      premises may be subject to searches pursuant to this condition. Any search must be conducted at a reasonable
      time and in a reasonable manner.
Case 1:23-cr-20500-RKA Document 14 Entered on FLSD Docket 04/19/2024 Page 4 of 4

                                                        DEFENDANT:          Angelo Agustin Coello
                                                        CASE NUMBER:        23-20500-CR-ALTMAN
                                                        PAGE FOUR


s. Mandatory Adam Walsh Conditions: Defendant shall abide by specified restrictions on personal
associations, place of abode, or travel, to avoid all contact with an alleged victim of the crime and with a
potential witness who may testify concerning the offense; report on a regular basis to a designated law
enforcement agency, pretrial services agency or other agency; comply with a specified curfew (with electronic
monitoring) and refrain from possessing a firearm, destructive device or other dangerous weapons.
t. Additional Sex Offense Conditions For Defendants Charged or Convicted of a Sexual Offense:
      1. ( ) Defendant may not have contact with victim(s), or any child under the age of 18, unless approved
                by the Court or allowed by the U.S. Probation Officer.
      2. ( ) The defendant shall not possess or use any data encryption technique or program and shall
                provide passwords and administrative rights to the U.S. Probation Officer.
      3. ( ) Defendant shall participate in specialized sex offender evaluation and treatment, if necessary,
                and to contribute to the costs of services rendered based on ability to pay, as determined by
                the U.S. Probation Office.
      4. ( ) Defendant shall not possess, procure, purchase or otherwise obtain any internet capable device
                and/or computer. Additionally, the defendant is prohibited from using another individual’s
                computer or device that has internet capability.
      5. ( ) Defendant is prohibited from establishing or maintaining any email account or social media
                account. Additionally, the defendant is prohibited from using another individual’s email account
                or social media account. Must provide monthly or upon request, personal phone and credit card
                billings to Pretrial Services to confirm there are no services with any internet services provider.
      6. ( ) Defendant is not permitted to enter places where children congregate including, but not limited
                to any play areas, playgrounds, libraries, children-themed restaurants, daycares, schools,
                amusement parks, carnivals/fairs, unless approved by the U.S. Probation Officer.
      7. ( ) The defendant shall not be involved in any children’s or youth organizations.
      8. ( ) Defendant is prohibited from viewing, owning, or possessing any obscene, pornographic, or
                sexually stimulating visual or auditory material, including telephone, electronic media,
                computer programs, or computer services.
      9. ( ) The defendant shall participate in a maintenance polygraph examination to periodically
               investigate the defendant’s compliance. The polygraph examination shall specifically address
               only defendant’s compliance or non-compliance with the special conditions of release and shall
               not inquire into the facts of the pending criminal case against defendant. The defendant will
               contribute to the costs of services rendered (co-payment) based on ability to pay or availability
               of third party payment.
u. May travel to and from: ___________________, and must notify Pretrial Services of travel plans before
leaving and upon return.
v. Comply with the following additional conditions of bond:
  Defendant must provide his home address and phone number to PTS by Tuesday, April 23, 2024.
